Case 18-12773-BLS Doc 1 Filed 12/10/18 Page 1 of 10

Fi|| in this information io identify your case:

 

United States Bankruptcy Couri for ihe:
D|STRICT OF DELAWARE

Case number grknawn) ' Chapier 11

 

I:l Check if this an
amended filing

 

 

Official Form 201
Voluntary Petition for Non-|ndividua|s Fi|ing for Bankruptcy 4116

lf more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtol’s name and case number (if known).
For more lnformailon, a separate document, lnslructlons for Bankruptcy Forms for Non-lndlvlduals, is available.

1. Debtol's name interTouch Topco LLC

 

2. Al| other names debtor
used in the last B years

lnc|ude any assumed
names, trade names and
doing business as names

 

3. Debtor‘s federal
Employerldentiilcatlon 47'5146381

 

 

 

Number (EIN)
4. Debtor's address Principal place of business Malling address, if different from principal place of
business
480 Olde Worthington Road Ste 350
Westerville, OH 43082
Number, Street, Ciiy, State & ZlP Code P.O. Box, Number. Streei. City, Siaie & ZlP Code
Delaware Location of principal assets, lf different from principal
C°umy place of business

 

Number, Street, City, Siate & Z|P Code

 

5. Debt¢r'$ webslte (URL)

 

 

6‘ Type °' debt°r . Corporation (inc|uding Limited Liabi|ity Company (LLC) and Limiied Liabi|ity Partnership (LLP))

El Pannership (excluding LLP)
l:l Other.Specify:

 

 

Ofiicial Form 201 Voluntary Petition for Non-lnd|vidua|s Fl|lng for Bankruptcy page 1

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D°bf°r interTouch Topco LLC Case number (ifknown)
Name
7. Describe debtors business A. Check one:

(_l:l investment advisor (as deiined in.15 U.S.C. §80b-2(a)(11))

l:l Health Care Business (as denned in 11 U.S.C. § 101(27A))
n Single Asset Real Eslate (as defined in 11 U.S.C. § 101 (51 B))
l:l Railroad (as defined in 11 U.S.C. § 101(44))

l:l Stockbroker(as delined |n 11 U.S.C. § 101(53A))

l:l Commodity Broker (as defined in 11 U.S.C. § 101(6))

l:l Clearing Bank (as defined in 11 U.S.C. § 781 (3))

None of the abov

 

  
   

 

B. Check all that apply
l:l Tax-exempt entity (as described iri 26 U.S.C. §501)
l:l investment oompany, including hedge fund or pooled investment vehicle (as denned in 15 U.S.C. §808-3)

 

 

C. NA|CS (Noith American industry Classification System) 4-digit code that best describes debtor.

See h§§J/www.uscourts.govlfour-digit-national-association~naics-codes.

 

 

 

 

 

 

 

 

8. Under which chapter of the Check one:
Bankruptcy Code is the
debtor iiiing? Chapter 7
cl Chapter 9
l Chapter 11. Check all that apply.
l:l Debtor's aggregate nonoontingent liquidated debts (exc|uding debts owed to insiders or aililiates)
are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years alter that).
l:l The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). if the debtor is a small
business debtor. attach the most recent balance sheet statement of operations. cash-flow
statement and federal income tax return or if all of these documents do not exist, follow the
procedure in 11 U.S.C. § 1116(1)(3).
l] A plan is being filed with this petition.
l:| Aoceptances of the plan were solicited prepetition from one or more classes of creditors, in
accordance with 11 U.S.C. § 1126(b).
The debtor is required to file periodic reports (for example, 1th and 1OQ) with the Securities and
Exchange Commission according to § 13 or 15(d) el the Seourities Exchange Act of 1934. File the
attachment lo Voluntary Peiiiion for Non-Individuals Filing for Bankruptcy under Chapter 1 1
(Ofticia| Form 201A) with this form.
l:l The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
l:| Chapter 12
9. Were prior bankruptcy . No
cases filed by or against '
the debtor within the last 8 El Yes.
years?
lf rnore than 2 oases. attach a
Separage list District When Case number
District When Case number
10. Are any bankruptcy cases |] No
pending or being filed by a
business partner or an Yes.
affiliate of the debtor?
List all wses. if more than 1, , _
attach a separate list Debtor interTouch Ho|dings LLC Reiationship
District Delaware When Case number, if known
Ofl`icia| Form 201 Voluntary Petition for Non-lndlvlduals Filing for Bankruptcy page 2

Debtor

11.

Case 18-12773-BLS Doc 1 Filed 12/10/18 Page 3 of 10

Name

Why is the case filed in
this dlstrict?

interTouch Topco LLC

Case number (irknown)

 

Check all that apply:

- Debtor has had its domicile, principal place of business. or principal assets in this district for 180 days immediately
preceding the date of this petition or for a longer part of such 180 days than in any other district

l:l A bankruptcy case concerning debtors af&liate, general partner, or partnership is pending in this district

 

12. Dces the debtor own or - No
have possession of any
real property or personal l:l Yes.

property that needs
immediate attent|cn?

Answer below for each property that needs immediate attention. Attach additional sheets if needed.

Why does the property need immediate attention? (Check all that apply.)
l:l lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
What is the hazard?

 

l:l lt needs to be physically secured or protected from tile weather.

l:l lt includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
livestock, seasonal goods. meat, dairy. produce, or securities-related assets or other options).

\:l Other

 

Where ls the property?

 

Number. Street, City. State & ZlP Code
ls the property lnsured?
U No

1:| Yes_ insurance agency

 

Contact name

 

Phone

 

 

-:tatistlcal and administrative information

13. Debtor's estimation of Check one:
available funds

U Funds wll| be available for distribution to unsecured creditors.

l Alter any administrative expenses are paid, no funds will be available to unsecured creditors

 

14. Estimated number of - 1_49
creditors

n 1.000-5,000

l:l 25,001-50,000

 

g 50_99 lZl 5001-10.000 El 50,001-100.000
g 100_199 lIl 10,001-25,000 El More iilan100.000
l'_`l 200-999
15. Esiimaiod Asses l 50 _ $50'000 El $1.000,001 - $10 million El $500,000,001 - $1 billion

El $50,001 - $100,000
El $100.001 - $500,000
El $500,001 - $1 million

l:l sio,ooo.ool - $so million
ill $50,000.001 - $100 million
El $100.000.001 - $500 million

El $1.000.000.001 - $10 biiiion
|Il $10.000,000,001 - $50 billion
l:l More than $50 billion

 

El $so.ooi - $100,000
El $100,001 - $500.000
El $500,001 - $1 million

lI| $1,000.001 - $10 million

El $10.000.001 - $50 million
ij $50.000,001 - $100 million
Cl $100,000,001 - $500 million

L`.l $500,000.001 - $1 billion

El $1.000,000,001 - $10 billion
El $10,000,000,001 - $50 billion
lIl More than $50 billion

 

Ofiicial Form 201

Voluntary Petltlon for Non-lndividuals Filing for Bankruptcy

page 3

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Debtor
Name

interTouch Topco LLC

- Request for Re|lef, Declaration, and Signatures

Case number (ifknown)

 

 

WARN|NG - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankniptcy case can result in fines up to $500.000 or

imprisonment for up to 20 years. or both. 18 U.S.C. §§ 152. 1341. 1519, and 3571.

17. Declaratlon and signature
of authorized
representative of debtor

The debtor requests relief in accordance with the chapter of title 11l United States Code, specified in this petition.

l have been authorized to file this petition on behalf of the debtor.

l have examined the information in this petition and have a reasonable belief that the information is trued and correct.

l declare under penalty of perjury that the foregoing is true and correct.

Executed Or\ December 10l 2018

MM/DD/YYYY

X lsl Seale A. Moorer, Jr.

 

Signature of authorized representative of debtor

Tii!e Sole Member

Seale A. Moorer, Jr.

 

Prlnted name

 

18. Signature of attorney

Ofticial Form 201

X IsI Julla Bettina Klein

 

Signature of attorney for debtor

Julla Bettina Klein
Prlnted name

Klein LLC
Firrn name

919 N. Market Street

Suite 600

Wilmington, DE 19801

Nurnber, Street,.City, State & ZlP Code

Email address

Contact phone (302) 438-0456

5198 (DE)

Date December 10, 2018

 

MM/DD/YYYY

klein@kleinllc.com

 

 

Bar number and State

Voluntary Petition for Non-lndividuals F|ilng for Bankruptcy

page 4

Case 18-12773-BLS Doc 1 Filed 12/10/18 Page 5 of 10

UNANrivrous wRiTTEN coNsEN_T or soLE MEMBER
, or lnlerroucn roPco Li.c _

December 10, 2018

The undersigned sole member (“Member”) of interTouch 'I“opc`o LLC, a Delaware
limited liability company (the “Comgany”), does hereby consent to the taking of the following
actions and does hereby_adopt the following resolutions (collectively, this “Consent”), pursuant to
the Limited Liability Company Agreement of interTouch 'I“opc'o ~LLC (the “LLC Agreement”)
and the Limited Liability Company Act of the State ofDelaware:

WHEREAS, the Member has reviewed and considered the materials presented by
the management and legal advisors of the Company regarding the Company’s liabilities and
liquidity situation;

WHEREAS, the Member has consulted with the Company’s management and
legal advisors and has considered fully each of the strategic alternatives available to the Company;

WHEREAS, the Member has been briefed on the proposed voluntary petition to
be-Iiled by the Company in the United States,Bankruptcy Couit for the District of Delaware (the
“Bankruptcy Court”) for relief under chapter ll of title ll of the United States Code (the
ss m c v .

NOW, THEREFORE, BE IT' RESOLVED, that the Company file a petition in
the Bankruptcy Court seeking relief under the provisions of chapter ll of the Bankruptcy Code,
and the filing of such petition is authorized hereby;

RESOLVED, FURTHER, that Seale A, Moorer, Jr. (the “Authoriz§g vO§icer”i
be, and hereby is, authorized, empowered and directed in the name and on behalf of the Company
to execute and verify a voluntary petition under chapter ll of the Bankruptcy Code and to cause
the same to be filed in the Bankruptcy Court at such time as said Authorized Oft`lcer shall
determine it to be in the best interest of the Company;

RESOLVED, FURTHER, that the Authorized Officer hereby is, authorized and
directed to employ the law firm of Klein LLC as general bankruptcy counsel to represent and assist
the Company in carrying out its-respective duties under the Bankruptcy Code and related matters,
and to take any and all actions to advance the Company’s rights and obligations, including filing
any pleadings; and in connection therewith, the Authorized Off`lcer hereby is,' authorized and
directed to execute appropriate retention agreements, pay appropriate rctainers prior to and
immediately upon filing of the case under chapter ll of the Bankruptcy Code, and to cause to be
filed an appropriate application for authority to retain the services of Klein LLC;

RESOLVED, FURTHER, that the Authorized Officer be, and hereby is,
authorized and directed to employ any other professionals to assist the Company in carrying out
its duties under the Bankruptcy Code and related matters; and in connection therewith, the
Authorized Officer be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon filing of the case under

Case 18-12773-BLS Doc 1 Filed 12/10/18 Page 6 of 10

chapter l l of the Bankruptcy Code, and to cause to be filed an appropriate application for authority
to retain the services of any other professionals as necessary;

RESOLVED FURTHER, that the Authorized Officer hereby is, authorized and
directed, in the name and on behalf of the Company, to execute all petitions, schedules, motions,
lists, applications, pleadings, and other papers or documents, and to take any and all such other
and further actions which such Authorized Officer or the Company’s legal counsel may deem
necessary, proper, or desirable in connection with the case under chapter ll of the Bankruptcy
Code, with a view to the successful prosecution of such case;

RESOLVED FURTHER, that the Authorized Officer hereby is, authorized and
directed, in the name and on behalf of the Company, to take such actions and to make, sign,
execute, acknowledge, and deliver any and all such additional documents, agreements, affidavits,
applications for approvals or rulings of governmental or regulatory authorities, motions, orders,
directions, certificates, requests, receipts, financing statements, or other instruments as may be
reasonably required to give effect to the foregoing resolutions and to consummate the transactions
contemplated by the foregoing resolutions, to execute and deliver such instruments, and to fully
perform the terms and provisions thereof; and ’

RESOLVED FURTHER,~that to`the extent that any of the actions authorized by
any of the foregoing resolutions have been taken by the Authorized Officer on behalf of the
Company, such actions are hereby ratified and confirmed in their entirety.

This Consent may be executed either by manual or electronic signature or a facsimile
version of a manual or electronic signature

IN WITNESS WHEREOF, the undersigned has executed this Consent as of the day and
year first written above.

  

interTOUCH TOPCO LLC

 

v , Moorer, Jr.

 

Case 18-12773-BLS Doc 1 Filed 12/10/18 Page 7 of 10

Fill in this information to identify the caso:

 

Debtor name interTouch Topco LLC

 

United States Bankruptcy Court for the: D|STR|CT OF DELAWARE

 

Case number (tf known) n Ch k if thl ‘
ec s is an
amended filing

 

Offlcia| Form 202
Declaration Under Pena|ty of Perjury for Non-lndividua| Debtors ms

An individual who is authorized to act on behalf of a non-individual debtor. such as a corporation or partnershlp, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that ls not included in the document, and any
amendments of those documents This form must state the lndlviduai’s position or relationship to the debtor. the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to 8500,000 or imprisonment for up to 20 years, or both. 18 l.l.S.C. §§ 152, 1341,
1519, and 3571 .

- Declaration and signature

l am the president. another oilicer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this wse.

l have examined the information in the documents checked below and l have a reasonable belief that the information is true and correct:

Schedule A/B: Assets-Real and Personal Property (Officia| Form 206AIB)

Schedule D: Creditors Who Have Claims Secured by Property (Ofticia| Form 206D)

Schedule E/F: Creditors Who Have Unsecured Clalms (Ofl`lcia| Form 206EIF)

Schedule G: Execuiory Contracts and Unexpired Leases (Oiiicia| Form 206G)

Schedule H: Codebtors (Officia| Form 206H)

Summary of Asse!s and Lr'abilities for Non-lndividuals (Official Form 2068um)

Amended Schedule

Chapter 11 or Chapter 9 Cases: Lisr of Credirors Who Have the 20 Largest Unsecuned Claims and Are Not Insiders (Ofiicial Form 204)

Other document that requires a declaration

 

Elll:l|:ll:l|:l[ll:ll:l

 

| declare under penalty of perjury that the foregoing is true and correct

EX€C¢lfed On December 10, 2018 X lsl Seale A. Moorer, Jr.
Signature of individual signing on behalf of debtor

Seale A. Mooreg Jr.
Printed name

Sole Member
Position or relationship to debtor

Ofticia| Form 202 Dec|aration Under Penalty of Perjury for Non-indivir:lual Debtors
Soiiware Copyright (c) 1996-2017 Best Case. LLC - wvm.beeicaso.oom Besi Case Bankruptcy

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Fi|| in this information to identify the case:

Debtor name interTouch Tooco LLC

United States Bankruptcy Court for the: District of Delaware

isww) Cl Check if this is an
amended filing

Case number (lf known):

 

 

Ofl"icia| Form 204
Chapter 1 1 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not lnsiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. include claims which the debtor
disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101 (31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
largest unsecured claims.

 

 

            

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Deduciion for Unsecured §
veluo'of claim §
. collateral or ` §
_ v _~ .. n .. _,{_. ., ., , . lte..…._. . v v ». setoff §
§ MS Cameron McKenna Nabarro Oiswang Helen Johnson Professional services $152.576.58 §
1 §LLP Helen.Johnson@cms-cmno.com §
,Attn: He|en Johnson +44 20 7367 3339 § §
§Cannon P|ace i §
s78 Cennon Street §
London EC4N 6AF §
United Kingdom §
Buchalter. A Professionai Corporation Jeffery Ekbom ' Professiona| services .: l$33,646.00
2 Attn: Jerrery Ekbom jekbom@buchaiier.eom x
16435 North Scot\sdate Road (480) 383-1821
Suite 440
Scottsdaie. AZ 85254-1754 .
; Morris. Nichots, Arsht & Tunne|l LLP Patricia Vella, Esq. Professional services $69,356.90
3 Attn: Patricia Vella, Esq. pve|la@mnat.com
1201 North Market Street (302) 351-9303
P.O. Box 1347
lemington, DE 19899-1347
Tonkon Torp LLP Mark LeRoux Professional services § $336,097.34
4 Attn: Mark LeRoux fmark.ierou)i@tonkon.com f
888 SW Fttth Ave.. Suite 1600 (503) 802-2022 '
Port|and. OR 97204 §
RAJAH & TANN S|NGAPORE LLP Nigel Pereira, Esq. Professional services g $S7.027.85
5 Attn: Nigel Pereira. Esq. §
9 Battery Road #25-01 nigel_pereira@rajahtann.com `
Singapore 049910 +65 62320629 `
§SKLAR WlLLlAMS PLLC iBryan M. Wi|liams. Esq. Professional services $9.952.75
§6 i_Aw oFFicEs bwiiiiamS@skiar-iaw.com
§ Attn: Bryan M. Wi|liams, Esq. (702) 360-6000
410 South Rempart Boulevard
Suite 350
Las Vegas. Nevada 89145
Fenwick & West LLP David Forst Professional services § ’$112.035.70
7 Attn: David Forst dfrost@fenwick.com § _
§801 Ca|ifomia Si. §(650) 335-7254 § ;’
§ §Mouniain view, cA 94041 § §
l YLandls Rath & Cobb LLP Richard Cobb, Esq. Profcssiona| services § $3.295. 35
;8 §Attn: Richard Cobb, Esq. Cobb@|rclaw.com l
§ §919 Market Street, Suite 1800 (302) 467-4400 § §
:PO Box 2087 ; §
§ wimingion. oE 19899 '

 

 

 

 

Oftlcia| Form 204 Chapter 11 or Chapter 9 Cases: List of Credltors Who Have the 20 Largest Unsecured Clalms page 1

'10

11

12

13

114

15

16

Official Form 204

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Debtor interTouch Ho|dings LLC

Nama

Narne of creditor and complete
mailing address, including zip code

Case number irknown)

Name, telephone number, and §Nature of the claim indicate if Amount of unsecured claim

§ small address of creditor
` contact

§(for example, trade
§debts, bank loans,
professional
§s`ervices,{and~

' §govemment `

§oontrects); ~

§ .

 

 

Corporation Service Company
Attn: Morgan Dai|ey

251 Little Falls Drive
Wilmingion, DE 19808

CMS Derks Star Busmann N.V.

Attn: Eduard theenslra
Atrium-Parnassusweg 737

1077 DG Amsterdam

(PO Box 94700

1090 GS Amsterdam

Nether|ands

Ganfer Shore, Leeds & Zauderer LLP
360 Lexington Avenue

New York. New York 10017

Weil, Gotshal & Manges LLP
’Attn: Gary Ho|tzer

767 Fifth Avenue

New York. NY 10153-0119
interTouch Pte. Ltd

’Attn: Toni Weber

30A Ka||ang P|ace #12-06
Singapcre 339203

’Nomadix.lnc. v
;30851 Agoura Hil|s Road, Suite 102
'Agoura Hills, CA 91301

interTouch (usA) lnc.
30851 Agoura Hiiis Road, sure 102
Agoura Hi|ls, CA 91301

_S;|._ .Hgld.ih.gs. L..L.CM .` § ,. ,,..,
450 Olde Worlhington Road. Suite 350
Westerville, OH 43082

` ` sééie'A. M¢orér f ‘

 

Morgan Dailey
Morgan.Dailey@cscglobal.com
(800) 927-9801 Ext. 62808

vEduard Scheenstra t 7

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lGary Ho|tzer

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Toni Webber §

T
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`Kéiiy Hugr`ies

Kel|y.hughes@nomadix.com
(503) 804-8575

Kelly Hughes
Ke|ly.hughes@intertouch.com
(503) 804-8575

smoorer exce tiona|lnnovalion.com
(614) 806-4919

§Proiessional services

-Professional services

:Professional services

Professiona| services

intercompany loans

intercompany loans

intercompany loans

lntercompany loans

l

claim is : lf the claim is fully unsecured fill in only unsecured '

:°°“u“§é"t» § claim amount lf claim is partially secured, fill in
i““"q“idaf°d» ? total claim amount and deduction for value of
§°\' dispude § collateral or setoff to calculate unsecured claim.

§Tota| c|alm, if ’:Deductlon for j Unsecured

partially zvalue of _ claim
secured ` collateral or `
5 setoff
,_, …. ,, , , ,.,, r:$91.2,'00.
~$4.513.53
.$32,735.40
;$542,395,66

§$22,881,194.36
'$14,901`,200.48
l$2,277,433.80

-$500,000.00

Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured C|aims page 2

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United States Bankruptcy Court
District of Delaware

ln re interTouch Topco LLC Case No.
Debtor(s) Chapter 11

VERIFICATION OF CREDITOR MATRIX

I, the Sole Member of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge

Date: December 10, 2018 /sl Seale A. Moorer, Jr.

Seale A. Moorer, Jr./Sole Member
Signer/Title

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